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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS


In re:
                                                      Case No. 22-40216-EDK
TOP LINE GRANITE DESIGN INC.
                                Debtor.               Chapter 11



   OPPOSITION TO DEBTOR’S MOTION FOR ORDER (i) AUTHORIZING THE
      DEBTOR TO OBTAIN POSTPETITION FINANCING, (ii) GRANTING
SUPERPRIORITY CLAIM, SECURITY INTEREST, AND PRIMING FIRST PRIORITY
    LIEN TO THE DIP LENDER, AND (iii) SCHEDULING A FINAL HEARING

         Avidia Bank (“Avidia”) hereby files this Opposition to the approval of Debtor’s Motion

for Order (i) Authorizing the Debtor To Obtain Post petition Financing, (ii) Granting

Superpriority Claim, Security Interest, And Priming First Priority Lien To The Dip Lender, and

(iii) Scheduling A Final Hearing (the “Motion”). In support of this Objection, Avidia states as

follows:


                                               BACKGROUND


    1. The Debtor is indebted to Avidia in connection with two secured loans. These two loans

         total approximately $2.6 million. These loans are secured by substantially all of the

         Debtor’s assets. Further, certain non-debtor entities have guaranteed the obligations of

         the loans. Prior to the bankruptcy filing, the Debtor defaulted on its obligations of each

         loan. Avidia made demand on each loan. Soon thereafter, the Debtor filed this

         bankruptcy case.


    2. On March 30, 2022, the Debtor filed its Motion for Interim and Final Orders (A)

         Authorizing Use of Cash Collateral, (B) Granting Post-Petition Replacement Liens as




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    Adequate Protection (the “Cash Collateral Motion”). As to adequate protection, the Cash

    Collateral Motion provided, in part, for Avidia to receive post-petition replacement liens.

    Further, to the extent funds are available, the Cash Collateral Motion provides that the

    Debtor shall pay Avidia monthly installment payments as contemplated under 361(a) of

    the Bankruptcy Code.


                           OVERVIEW OF PROPOSED DIP LOAN


 3. By its Motion, the Debtor seeks approval of up to $1 million in post-petition financing

    that accrues interest at approximately 14%. Further:


                •   2.75% commitment fee
                •   1.75% underwriting fee
                •   1.75% monitoring fee
                •   4.75% undrawn line fee
                •   Makewhole fee 4.75%
                •   Reasonable expense (no cap) reimbursement for costs of DIP in house
                    counsel, advisers, and consultants, together all fees, expense, and
                    disbursements of outside counsel or other advisers and consultants.

    Such financing is proposed to be secured by first priority liens over all prepetition and

    post petition assets of the Debtor of any kind, whether real, personal, intellectual, or

    otherwise, whether tangible or intangible. See Sections 10.02 and 10.03 of the DIP

    Credit Agreement appended to the Motion. Such liens are proposed to be senior priority

    priming security interests and liens with the respect to essentially all existing liens other




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      than those previously granted by order of the Court. Events of Default, as listed under

      Article VIII of the DIP Credit Agreement, include, but not limited to:


                             “The Bankruptcy Court . . . enters an order, after approval of the
                             DIP Financing Motion, without prior written consent of the DIP
                             Lender, and provided the Debtor has not timely filed an objection”

                             “Surcharging under Bankruptcy Code section 506(c) . . .”

                             “…. questioning or challenging, or that could be reasonably
                             expected otherwise to impair, any DIP Lien or DIP Claim . . any
                             DIP Loan Document, or any right or remedy of the DIP Lender”

                                             OPPOSITION


 5.      Section 364(d)(1) of the Bankruptcy Code permits a debtor to obtain credit secured

         by a senior or equal lien on property only if the debtor is unable to obtain such credit

         otherwise and “there is adequate protection of the interest of the holder of the lien on

         the property of the estate on which such senior or equal lien is proposed to be

         granted.” 11 U.S.C. § 364(d)(1). The debtors bear “the burden of proof on the issue

         of adequate protection.” 11 U.S.C. § 364(d)(1). “Adequate protection” as used in §

         364(d) and other sections of the Bankruptcy Code may be provided by (1) periodic

         cash payments; (2) additional or replacement liens; or (3) other relief resulting in the

         “indubitable equivalent” of the secured creditor’s interest. The last category being a

         “catch all” allows the bankruptcy court discretion to fashion adequate protection on a

         case by case basis. The Resolution Trust Corp. v. Swedeland Development Group,

         Inc. (In re Swedeland Development Group. Inc. 16 F.3d 552, 564 (3d Cir. 1994)).

         “Given the consequences to the existing creditor of a priming lien, the court must be

         “particularly cautious” when evaluating whether the subordinated credit is adequately



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             protected. In re Stoney Creek Techs., LLC 364 B.R. 882, 892 (Bankr. E.D. Pa. 2007)

             quoting In re First South Sav. Assoc., 820 F2d700, 710 (5th Cir 1987).


     6.      In this case, the Debtor offers Avidia what it already has – post petition liens1. In

             Swedeland, the Third Circuit Court of Appeals set forth certain principles that are

             intended to inform bankruptcy judges when considering whether adequate protection

             for the purpose of § 364(d) has been offered. The court noted that the prepetition

             creditor must be provided with the same level of protection it would have had absent

             the post-petition financing since it is entitled to retain the benefit of its prebankruptcy

             bargain. Significantly, it stated that while the policy underpinnings of Chapter 11 are

             quite important, “Congress did not contemplate that a creditor could find its priority

             position eroded and as compensation be offered an opportunity to recoup dependent

             upon the success of a business with inherent risky prospects.” In re Stoney Creek at

             892. “In a case that bears some resemblance to the contested matter before me, the

             Court held that an equity cushion may provide adequate protection but that an equity

             cushion along will not be determinative.” In re Timber Products, Inc. 125 B.R. 433,

             435 n. 11 (Bankr. W.D. Pa. 1990). Rather a number of factors are relevant to the

             adequate protection analysis, the most significant of which in this case is . . .prospects

             for a successful reorganization. See In re Stoney Creek Techs., LLC at 892. “The

             authorization to prime an existing lien should not be read as authorization to increase


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 In a similar fact pattern to this matter, the Court in In re Stoney Creek Techs, LLC, 364 B.R. 882, 892 (Bankr. E.D.
Penn 2007) stated in fn 24 “While the proposed Order provides adequate protection to prior secured parties in the
form of (1) a lien on post-petition assets and (2) copies of all financial statements and reports provided to Lender,
the adequate protection is more form than substance. First, the Debtor's business plan does not contemplate any new
post-petition assets other than inventory which will be converted into product and sold generating accounts
receivable which will be collected to operate the business. Second, as the Swedeland Court noted, while reports are
helpful, they are not substitutes for the more concrete items identified as adequate protection in § 361. "To put it
bluntly, Carteret [the creditor] could not convert them into cash." In re Stoney Creek Techs. at 565 n. 16.


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             substantially the risk of the existing lender in order to provide security for the new,

             post petition lien”. In re Stoney Creek Techs LLC quoting In re Windsor Hotel, LLC,

             295 B.R. 307, 314 (Bankr. C.D. Ill. 2003).


     7.      The proposed DIP loan increases Avidia’s risk. The post petition liens granted to

             Avidia are subject to the DIP Loan. Motion at 18. As noted above, equity cushion is

             not the be all end all. Looking at the budget provided for in the Cash Collateral

             Motion, in Avidia’s view, there is low expectation of meaningful cash from

             operations, borrowing $1 million with high fees and costs, secured by a senior

             priming lien on cash collateral, ultimately results in shifting the burden and risk on

             Avidia and creditors. Avidia understands that the Debtor’s position is that the

             infusion of $400,000, will jump start the business and the debt service will pay for

             itself by increased inventory and profits as a result of proposed DIP loan. See

             generally Motion at ¶ 422. However, the Debtor has failed to demonstrate this

             through “hard” numbers. For example, what will the forecasting look like as a result

             of the loan proceeds over the pre confirmation period. In its Motion, the Debtor

             merely states, “ . . . the Senior Claims would now more likely receive Adequate

             Protection Payments from the Debtor if working capital is made available to the




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 The Debtor states that it expects the DIP loan funds to be utilized for purchase of supplies and materials, however,
per its own budget it allocates $70,000 for pre-petition payroll, reclamation claim, lease cure, and unpaid post
petition lease payment.


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       Debtor so that the Debtor can meet its commitments on project for its customers and

       ultimately create more accounts receivable.” Id.


 8.    Debtor’s is fixating on short-term survival at any cost, regardless of the impact later,

       query how will the DIP Loan get paid in a mere two years?


 9.    A proposed post-petition financing arrangement must be in accord with the sound

       exercise of business judgment. The Debtor argues that this loan is in its sound

       business judgment. However, it must be noted that the Debtor lists $2 million dollars

       in inventory. Given the nature of the Debtor’s business, this inventory level seems

       quite high to have on hand. Has the Debtor considered discounting and selling off the

       raw inventory to free up cash versus encumbering this expensive loan?


 10.   The Debtor has not demonstrated that it will operate profitably. It thirteen-week

       projections provide a very slim cash flow, and this DIP loan appears to be a stopgap

       measure that will not restore the Debtor to a point in which it will be able to meet its

       financial obligations. The Debtor had the similar challenges for years leading up to

       the bankruptcy filing. Taking on this debt will create additional challenges with

       minimal upside. It may jumpstart the pending projects, however, the Debtor really

       does not have a long term solution. The proposed financing is not in the best interests

       of the estate and its creditors.


          FOR THE FOREGOING REASONS, THE DEBTOR’S MOTION SHOULD
       BE DENIED.




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 Respectfully submitted,
 Avidia Bank
 By its Attorney,


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 Dated: May 17, 2022




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In re:
TOP LINE GRANITE DESIGN INC.                       Case No. 22-40216-EDK

                                                   Chapter 11
                              Debtor.



                                 CERTIFICATE OF SERVICE

I, Michael Van Dam, hereby certify that on this 17th day of MAY 2022, the following Objection
has been served upon the following parties as indicated:

Alan L. Braunstein on behalf of Debtor Top Line Granite Design Inc.
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Philip F. Coppinger on behalf of Creditor Leamar Industries, Inc.
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